The bill of exceptions in the instant case is identical with the one held insufficient in the case of Ward v. State, 135 Ark. 259, 204 S.W. 971. In this *Page 261 
case, as in that the bill of exceptions was signed by the prosecuting attorney and counsel for appellant, but had not been submitted to nor approved by the trial judge. The appellant in each case had been convicted of a felony. It was there held that it is necessary that a bill of exceptions in a case where defendant has been convicted of a felony be signed by the trial judge, and that the bill of exceptions did not become a part of the record until it was so signed.
The errors complained of in the instant case, like those in the Ward case, supra, are such as must be brought into the record by a proper bill of exceptions, and, as no error appears in the absence of a bill of exceptions, the judgment must be affirmed, and it is so ordered.